                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                 3:05CV396-1-MU
                                   3:03CR71-MU



KIMBERLY PIERCY,                          )
                                          )
            Petitioner,                   )
                                          )
            v.                            )                         ORDER
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            Respondent.                   )
__________________________________________)


       THIS MATTER comes before the Court upon Petitioner’s Motion to Vacate, Set Aside,

or Correct Sentence, filed September 14, 2005.

       On April 30, 2003, Petitioner, among others, was indicted on two counts of violating 21

U.S.C. §§ 841 and 846 and on one count of violating 18 U.S.C. § 924(c). On March 4, 2004, the

parties filed a plea agreement with the Court. On March 18, 2004, Petitioner entered a guilty

plea at her Rule 11 hearing. As a result of her plea agreement, the § 924(c) gun charge against

Petitioner was dismissed. On January 20, 2005, this Court sentenced Petitioner to 87 months

imprisonment on each count to be served concurrently followed by three years of supervised

release. Petitioner did not directly appeal her sentence and conviction.

       On September 14, 2005, Petitioner filed the instant Motion to Vacate alleging that her

sentence was erroneous because the Court did not use a beyond a reasonable doubt standard in

determining that she should receive a two point gun enhancement pursuant to § 2D1.1(b)(6) of

the United States Sentencing Guidelines.



      Case 3:03-cr-00071-GCM           Document 205        Filed 09/30/05     Page 1 of 3
       In order to collaterally attack a conviction or sentence based upon errors that could have

been but were not pursued on direct appeal, a petitioner must show cause and actual prejudice

resulting from the errors complained of or must demonstrate a miscarriage of justice would result

from a refusal to entertain a collateral attack. See United States v. Mikalajunas, 186 F.3d 490,

492-93 (4th Cir. 1999)(citing United States v. Frady, 456 U.S. 152, 167-68 (1982)).    In order to

establish a miscarriage of justice a petitioner must establish actual innocence. See Murrey v.

Carrier, 477 U.S. at 496.

       Petitioner does not allege any cause and prejudice for her failure to raise her claims on

direct appeal. Nor does she establish that she is actually innocent of the conduct for which she

received the enhancement.1 Consequently, because Petitioner did not raise her gun enhancement

issue on direct appeal she has procedurally defaulted her claim.

       THEREFORE, IT IS HEREBY ORDERED that Petitioner’s Motion to Vacate, Set

Aside, or Correct Sentence is DISMISSED.




       1
        The Court notes that Petitioner’s co-defendant was convicted of violating § 924(c)
based upon the December 2, 2002 arrest.

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      Case 3:03-cr-00071-GCM           Document 205        Filed 09/30/05      Page 2 of 3
                    Signed: September 30, 2005




                                3


Case 3:03-cr-00071-GCM   Document 205    Filed 09/30/05   Page 3 of 3
